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            IN THE UNITED STATES COURT OF INTERNATIONAL TRADE



THE AMERICAN LINE PIPE
PRODUCERS ASSOCIATION TRADE
COMMITTEE,                                                Before: Hon. ___________

                             Plaintiff,                   Court No. 24-00012

                     v.

UNITED STATES,

                             Defendant.



                                          COMPLAINT

       Plaintiff the American Line Pipe Producers Association Trade Committee (“Plaintiff” or

“ALPPA”), by and through its attorneys, alleges and states as follows:

              ADMINISTRATIVE DETERMINATION TO BE REVIEWED

       1.     Plaintiff brings this Complaint to contest portions of the U.S. Department of

Commerce (“Commerce”) final results of the 2021-2022 administrative review of the

antidumping duty order on large diameter welded pipe (“LDWP”) from Greece. See Large

Diameter Welded Pipe from Greece, 88 Fed. Reg. 88,573 (Dep’t Commerce Dec. 22, 2023)

(final results of antidumping duty admin. rev.; 2021-2022) (“Final Results”) and accompanying

Issues and Decision Memorandum (“I&D Memo”). The Final Results were issued on December

18, 2023 and published in the Federal Register on December 22, 2023.

                                          JURISDICTION

       2.     The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1581(c), as this

action is commenced under sections 516A(a)(2)(A)(i)(I) and (B)(iii) of the Tariff Act of 1930,

codified as amended (the “Act”). 19 U.S.C. §§ 1516a(a)(2)(A)(i)(I) and (B)(iii).
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                                          STANDING

       3.      Plaintiff is an association of domestic LDWP producers and therefore is an

interested party within the meaning of 19 U.S.C. § 1677(9)(E). Plaintiff was a party to the

administrative review in connection with which this matter arises. Accordingly, Plaintiff has

standing to commence this action pursuant to 28 U.S.C. § 2631(c) and 19 U.S.C. § 1516a(d).

                                  TIMELINESS OF ACTION

       4.      Plaintiff commenced this action by filing a Summons on January 19, 2024, within

30 days after the publication of the Final Results in the Federal Register. Summons (Jan. 19,

2024), ECF No. 1. Plaintiff is filing this Complaint within 30 days after filing the Summons.

The Summons and Complaint, therefore, are timely filed pursuant to 19 U.S.C.

§ 1516a(a)(2)(A)(i)(I) and Rules 3(a)(2) and 6(a) of this Court.

                   HISTORY OF THE ADMINISTRATIVE PROCEEDING

       5.      On May 2, 2019, Commerce published the antidumping duty order on LDWP

from Greece. Large Diameter Welded Pipe from Greece, 84 Fed. Reg. 18,769 (Dep’t Commerce

May 2, 2019) (final affirm. antidumping deter. and antidumping duty order).

       6.      Commerce initiated the administrative review subject to this Complaint on

July 14, 2022, covering the period of review (“POR”) May 1, 2021 to April 30, 2022. Initiation

of Antidumping and Countervailing Duty Administrative Reviews, 87 Fed. Reg. 42,144,

42,146-47 (Dep’t Commerce July 14, 2022).

       7.      Commerce issued an initial questionnaire to mandatory respondent Corinth

Pipeworks Pipe Industry S.A. (“CPW”) on July 21, 2022. Antidumping Request for Information,

Large Diameter Welded Pipe from Greece (July 21, 2022). Commerce subsequently issued

multiple supplemental questionnaires to CPW. See, e.g., Letter from Michael P. Martin,




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Enf’t & Compliance, Off. of Accounting, Supervisory Accountant, to Mowry & Grimson, PLLC,

re: Antidumping Duty Administrative Review of Large Diameter Welded Pipe from Greece (Nov.

28, 2022).

       8.     Commerce issued a request for constructed value (“CV”) profit and selling

expense comments and information on May 25, 2023 in the event that it was unable to calculate

profit and selling expenses using the preferred method under section 772(e)(2)(A) of the Act.

Letter from Taija A. Slaughter, Dir., Off. of Accounting, Enf’t & Compliance, to All Interested

Parties, re: Antidumping Duty Administrative Review of Large Diameter Welded Pipe from

Greece: Request for Constructed Value Profit and Selling Expense Comments and Information

(May 25, 2023). ALPPA and CPW each submitted CV profit and selling expense comments and

rebuttal comments on June 15, 2023 and June 28, 2023, respectively. See I&D Memo at 2.

       9.     Commerce conducted verification of CPW’s cost data from March 27-31, 2023,

and sales data from April 3-7, 2023. See, e.g., Memorandum from Heidi K. Schriefer, Senior

Accountant, through Taija A. Slaughter, Off. Dir., to The File, re: Verification of the Cost

Response of Corinth Pipeworks Pipe Industry S.A. in the Antidumping Duty Administrative

Review of Large Diameter Welded Pipe from Greece (May 31, 2023) (“CVR”).

       10.    Commerce issued preliminary results on June 2, 2023, which were published in

the Federal Register on June 20, 2023. See Large Diameter Welded Pipe from Greece, 88 Fed.

Reg. 39,823 (Dep’t Commerce June 20, 2023) (prelim. results of antidumping duty admin. rev.;

2021-2022) (“Prelim Results”) and accompanying Preliminary Decision Memorandum. (“Prelim.

Decision Memo”). Commerce preliminarily calculated a dumping margin of 6.95 percent for

CPW. Prelim Results at 39,824. In the preliminary results, Commerce revised CPW’s scrap




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offset to value the transactions with affiliated parties at market values. Prelim. Decision Memo

at 11.

         11.     ALPPA and CPW each filed case briefs on August 3, 2023, and rebuttal briefs on

August 14, 2023. See I&D Memo at 2. In its brief, ALPPA explained that Commerce’s

transactions disregarded analysis failed to capture the full extent of the adjustment necessary for

CPW’s byproduct and that, rather than compare CPW’s transfer prices to market prices,

Commerce should compare the scrap standard value to market prices. Letter from Wiley Rein

LLP to Sec’y Commerce, re: Large Diameter Welded Pipe from Greece: Case Brief (Aug. 3,

2023) at 2-4. With the scrap offset properly calculated, ALPPA asserted, all of CPW’s home

market sales would fail the cost test, requiring the Department to base normal value on

constructed value. See id. at 4-13. CPW submitted a rebuttal to these arguments. Letter from

Mowry & Grimson, PLLC to Sec’y Commerce, re: Large Diameter Welded Pipe from Greece:

Rebuttal Case Brief (Aug. 14, 2023).

         12.     Commerce issued its Final Results on December 18, 2023, which were published

in the Federal Register on December 22, 2023. See Final Results, 88 Fed. Reg. at 88,573. In the

Final Results, Commerce calculated a 0.00 percent margin for CPW. Id. at 88,574.

         13.     In the Final Results, Commerce made certain changes to its preliminary

transactions disregarded adjustment to CPW’s reported scrap material offset. See I&D Memo

at 13-18.      Commerce rejected ALPPA’s case brief argument regarding the transactions

disregarded adjustment.     Id. at 18.   However, Commerce determined that the transactions

disregarded analysis applied to CPW’s scrap material offset should reflect only the specific types

of scrap that were generated during the period of review. In particular, Commerce stated: “{W}e

continue to apply a transactions-disregarded adjustment factor that . . . represents the difference




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between CPW’s own POR weighted-average prices with affiliated parties (transfer price) and

unaffiliated parties (market price). However, in doing so we eliminated the transactions for the

scrap types that were not generated during the production of the reported products . . . .” I&D

Memo at 16.

       14.     In its Final Results Cost Calculation Memo, Commerce once again plainly

articulated its intent to eliminate from the transactions disregarded analysis all scrap types that

were not generated during the production of CPW’s reported CONNUMs: “For these final

results, we have revised our preliminary adjustment to exclude from our analysis those types of

scrap that were not generated during the production of the reported products.” Memorandum

from Heidi K. Schriefer, Senior Accountant, to Taija A. Slaughter, Dir., Enf’t & Compliance,

Off. of Accounting, re: Antidumping Duty Administrative Review of Large Diameter Welded

Pipe from Greece: Cost of Production and Constructed Value Calculation Adjustments for the

Final Results – Corinth Pipeworks Pipe Industry S.A. (Dec. 15, 2023) at 1 (“Final Cost

Calculation Memo”).

       15.     Despite its clearly expressed intent to eliminate from the transactions disregarded

calculations all scrap that was not generated from the production of the reported products,

Commerce did not in fact exclude all such data. Instead, Commerce’s analysis only partially

excluded certain types of scrap that it intended to fully exclude from the final results

calculations. Compare CVR at 22-23, Cost Verification Exhibit 17, with Final Cost Calculation

Memo at Attachment 1; Memorandum from Heidi K. Schriefer, Senior Accountant, to Taija A.

Slaughter, Dir., Enf’t & Compliance, Off. of Accounting, re: Antidumping Duty Administrative

Review of Large Diameter Welded Pipe from Greece: Cost of Production and Constructed Value




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Calculation Adjustments for the Preliminary Results – Corinth Pipeworks Pipe Industry S.A.

(May 31, 2023) at Attachment 2 (“Prelim Cost Calculation Memo”).

          16.   For example, Commerce failed to exclude certain scrap types: from its transfer

price calculations; from both the numerator (i.e., the total affiliated sales of steel scrap) and

denominator (i.e., total scrap sales) used to calculate the percentage that the scrap sold to

affiliated parties represents of the total scrap sales; and from the calculation of scrap as a

percentage of the byproduct offset (at Table C of its calculations). See Final Cost Calculation

Memo at Attachment 1; Prelim Cost Calculation Memo at Attachment 2.

          17.   On December 27, 2023, ALPPA filed a ministerial error allegation regarding

Commerce’s Final Results, including an argument that Commerce failed to implement the

changes that it stated it had made to its preliminary transactions disregarded adjustment to

CPW’s reported scrap material offset. Letter from Wiley Rein LLP to Sec’y Commerce, re:

Large Diameter Welded Pipe from Greece: Ministerial Error Allegation Comments (Dec. 27,

2023) (“ALPPA’s Ministerial Error Comments”).

          18.   ALPPA’s Ministerial Error Comments explained that Commerce’s mistaken

calculations for the Final Results had incorrectly caused a few of CPW’s home market (“HM”)

sales to pass the cost test and, as a result, Commerce used those sales as the basis of the CV

profit and selling expense ratios. When calculated as Commerce stated it intended, however,

these HM sales fall below cost, which would have required Commerce should have considered

sources for CV profit and selling expenses based on the alternative “any other reasonable

method” pursuant to section 773(e)(2)(B)(iii) of the Act. ALPPA’s Ministerial Error Comments

at 5-6.




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       19.    On January 22, 2024, Commerce accepted one ministerial error alleged by

ALPPA, but rejected ALPPA’s other ministerial error allegations – including the argument

related to the transactions disregarded adjustment to the scrap offset – as methodological

arguments. Because the one ministerial error accepted by Commerce did not alter the estimated

weighted-average dumping margin calculated for CPW, Commerce did not amend the Final

Results, and CPW’s margin remains at 0.00 percent. Memorandum from David Crespo, Senior

Int’l Trade Compliance Analyst, Off. II, AD/CVD Operations, and Heidi K. Schriefer, Senior

Accountant, Off. of Accounting, to Minoo Hatten, Dir., Off. II, AD/CVD Operations, re:

Ministerial Error Allegations in the Final Results of the 2021-2022 Antidumping Duty

Administrative Review of Large Diameter Welded Pipe from Greece (Jan. 22, 2024).

                              CLAIMS AND BASES FOR RELIEF

                                           Count I

       20.    Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 19.

       21.    Commerce’s failure to fully exclude from its transactions disregarded analysis the

types of scrap that were not generated during POR was not supported by substantial evidence

and in accordance with law.

                                           Count II

       22.    Plaintiff hereby realleges and incorporates by reference paragraphs 1 through 21.

       23.    Commerce’s rejection of Plaintiff’s ministerial error allegations was unsupported

by substantial evidence and otherwise not in accordance with law.




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                        REQUEST FOR JUDGMENT AND RELIEF

       For the reasons stated in this Complaint, Plaintiff respectfully requests that the Court:

       1)      Hold that aspects of Commerce’s final results in the 2021-2022 antidumping duty

administrative review of Large Diameter Welded Pipe from Greece are not supported by

substantial record evidence and otherwise not in accordance with law; and

       2)      Remand the final determination to Commerce for disposition consistent with the

Court’s final opinion; and

       3)      Grant such other relief as the Court may deem just and proper.


                                                      Respectfully submitted,

                                                     /s/ Timothy C. Brightbill
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Dated: February 17, 2024




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                                CERTIFICATE OF SERVICE
                                       PUBLIC SERVICE
      The American Line Pipe Producers Association Trade Committee v. United States
                                  Court No. 24-00012

       I certify that a copy of this public submission was served on the following parties,

via certified mail and electronic service, on February 17, 2024.

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